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     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-0817V
                                         UNPUBLISHED


    CALVIN JOHNSON,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: February 10, 2020
    v.

    SECRETARY OF HEALTH AND                                   Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                           Stipulation on Damages; Influenza
                                                              (Flu) Vaccine; Guillain-Barre
                        Respondent.                           Syndrome (GBS)


Joseph Alexander Vuckovich, Maglio Christopher & Toale, PA, Washington, DC, for
petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for respondent.


                               DECISION ON JOINT STIPULATION1

        On June 8, 2018, Calvin Johnson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (“GBS”) as
a result of an influenza (“flu”) vaccination administered on October 18, 2016. Petition at
1-2; Stipulation, filed February 7, 2020, at ¶¶ 2,4. Petitioner further alleges that he
received the vaccine in the United States, that he experienced the residual effects of
this injury for more than six months, and that there has been no prior award or
settlement of a civil action for damages as a result of his alleged condition. Petition at
1-2; Stipulation at ¶¶ 3-5. “Respondent denies that [P]etitioner sustained a GBS Table
injury and denies that [P]etitioner’s alleged GBS and its residual effects were caused-in-
fact by his flu vaccine. Respondent further denies that the vaccine caused [P]etitioner
any other injury or his current condition.” Stipulation at ¶ 6.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on February 7, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth
therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        (a) A lump sum of $1,453.16 representing compensation for full satisfaction
            of the State of Mississippi Medicaid lien, in the form of a check payable
            jointly to Petitioner and:

                Mississippi Division of Medicaid
                PO Box 1350
                Jackson, MS 39215-1350
                Case Number: 142369

                Petitioner agrees to endorse this payment to Mississippi Division of
                Medicaid; and

        (b) A lump sum of $122,500.00 in the form of a check payable to Petitioner.
            Stipulation at ¶ 8. This amount represents compensation for all items of
            damages that would be available under § 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                       OFFICE OF SPECIAL MASTERS

  CALVIN JOHNSON,

                         Petitioner,
                                                        No. 18-817V
        v.                                              Chief Special Master Corcoran
                                                        ECF
  SECRETARY OF HEALTH AND
  HUMAN SERVICES,

                         Respondent.

                                            STIPULATION

        The parties hereby stipulate to the following matters:

        l. Petitioner Calvin Johnson ("petitioner") filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the

"Vaccine Program"). The petition seeks compensation for injuries allegedly related to

petitioner's receipt of an influenza ("flu") vaccine, which vaccine is.contained in the Vaccine

Injury Table (the "Table"), 42 C.F.R. § 100.3 (a).

        2. Petitioner received his flu immunization on October 18, 2016.

        3. The vaccine was administered within the United States.

        4. Petitioner alleges that he suffered Guillain-Barre syndrome ("GBS") within the time

period set forth in the Table, that his OBS was actually caused by the vaccine, and that be

experienced the residual effects of his injury for more than six months.

       5. Petitioner represents that there has been no p·rior award or settlement of a civil action

for damages as a result of his condition.

       6. Respondent denies that petitioner sustained a OBS Table injury and denies that

petitioner's alle&ed GBS and its residual effects were caused-in-fact by his flu vaccine.

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 Respondent further denies that the vaccine caused petitioner any other injury or his current

 condition.

            7. Maintaining their above-stated positions, the parties nevertheless now agree that the

 issues between them shall be settled and that a decision should be entered awarding the

 compensation described in paragraph 8 of this Stipulation.

            8. As soon as practicable after an entry ofjudgment reflecting a decision consistent with

 the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21 (a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

                       a. a lump sum of $1,453.16, representing compensation for full satisfaction
                          of the State of Mississippi Medicaid lien, in the fonn of a check payable
                          jointly to petitioner and:

                                         Mississippi Division of Medicaid
                                         PO Box 1350
                                         Jackson, MS 39215-1350
                                         Case Number: 142369

                          Petitioner agrees to endorse this payment to Mississippi Division of
                          Medicaid; and

                      b. a lump sum of $122,500.00 in the form of a check payable to petitioner.
                          This amount represents compensation for all remaining damages that
                          would be available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry   ofjudgment on entitlement in this case, and after
petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.




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         10. Petitioner and his attorney represent that they have identified to respondent all

 known sources of payment for items or services for which the Program is not primarily liable

 under 42 U.S.C. § 300aa-l 5(g), including State compensation programs, insurance policies,

 Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

 U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

         11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

 paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

 to the availability of sufficient statutory funds.

         12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does f9rever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l Oet seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 18, 2016, as



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 alleged by petitioner in his petition for vaccine compensation filed on June 8, 2018, in the

 United States Court of Federal Claims as petition No. 18-81 ?V.

         14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

 upon proper notice to the Court on behalf of either or both of the parties.

         15. If the special master fails to issue a decision in complete conformity with the terms

 of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

 decision that is in complete confonnity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

         16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Ch~ldhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccination caused petitioner to suffer GBS

or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.




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 RespectfWJy submitted,


 PETITIONER:




 ATTOR.~EY OF RECORD FOR                               AUTHORIZE ~PRJ:SENTATIVE
 PETITl019:R)             ~                            OF TlfE.ATT ~EY GENERAL:
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 JOSYH A. WCKOVICH :                       .
 MAGLIO CHRISTOPHEl & TOALE, PA
1015 15th Street NW, Suite 112S
Washington, DC 20005
Tel; (888) 952-5242




AUTHORIZED REPRESENTATIVE                              ATTORNEY O .CORD FOR
OF THE SECRETARY OF BEALTII                            RESPONDENT            1
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AND HUMA.t"l SERVICES:
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TAMARA OVERBY ..                                       ADRIANATE
Acting Director, .Division of .Icywy                   Trial Attorney
Compensation Programs                                  Torts Branch ·
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Dated:, 2       /   Z/1,oW,
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